HID 026Case   1:17-cr-00101-LEK
       (Rev 08/10) Jury Note      Document 943 Filed 03/03/20 Page 1 of 1                                   PageID #: 7924
                         IN THE UNITED STATES DISTRICT COURT

                                                                                                        pll FD IN       _
                                  FOR THE DISTRICT OF

                                                                                                         MAR 03 2020
/Jn,te.J !>hi-fe'=           A,mfju/c^L
                                                                                                        o'clock and^^n-i-^
                                                                                                  " SUE BE\T1A,CLERK
                           Plaintiff(s)

             vs.                                                      Civil No. Il-00tr>l L.SK
/^rMon/j TT U)illla i V! ^                                           Criminal No
                           Defendant(s)


                                       NOTE FROM THE JURY # _U                             L
Your Honor,



    0.F>fJ J uifi.                                      h/t iiP. ^/)p.                                                 /
     o-F Ai. Ar/gt/.
                                                                      V/^/y.




Dated at Honolulu, Hawaii on                      Y^cJ^—^                               ^
Time: /OOf                                                                            6^
                                                                     Foreperson's Juror Number
                            The space below this line should contain only the Foreperson's signature.


                                                                                        /s/ Foreperson

                                                                                            Signature of Foreperson
